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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
CITYZENITH HOLDINGS, INC., and                 )
MICHAEL JANSEN                                 )
                                               )
       Plaintiffs,                             )      22-cv-05101
                                               )
       v.                                      )
                                               )
SHANE LIDDELL, and                             )       JURY TRIAL DEMANDED
CALEB NAYSMITH,                                )
                                               )
       Defendant.                              )

                                           COMPLAINT

       Plaintiffs, Cityzenith Holdings, Inc. and Michael Jansen, by their undersigned attorneys,

complains of Defendants Shane Liddell and Caleb Naysmith as follows.

                                             PARTIES

       1.      Plaintiff Cityzenith Holdings, Inc. (“Cityzenith”) is a corporation incorporated in

the state of Delaware. Its principal place of business is located in Chicago, Illinois.

       2.      Plaintiff Michael Jansen (“Jansen”) is a citizen of Illinois and resides in Cook

County, Illinois.

       3.      Defendant Shane Liddell (“Liddell”) is a citizen of Australia. He resides in Florida.

       4.      Defendant Caleb Naysmith (“Naysmith”) is a Kentucky citizen and resides in

Lexington, Kentucky.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332 as

Plaintiffs and Defendants are completely diverse and the amount in controversy exceeds $75,000,

excluding costs and interest. Plaintiffs suffered over $8,000,000 in claimed damages including
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punitive damages treble the $2,000,000 in claimed actual damages. Plaintiffs are entitled to large

punitive in an amount to be determined by the jury due to the willful and wanton nature of the

Defendant’s misconduct which includes putting a dangerous vehicle onto the roads that could

injure Draper and others, all in violation of the Illinois Motor Vehicle Code.

        6.      Venue is proper in this district under 28 U.S.C. §1391(b)(2) because the events or

omissions giving rise to Plaintiffs’ claims against Defendants occurred in this district. Venue is

proper in this judicial district because a substantial part.

        7.      There is personal jurisdiction and venue here because the damages were suffered

here. Jansen’s permanent residence is in Cook County. Cityzenith’s principal place of business is

located in Chicago, Illinois. Plaintiffs’ good names and reputation are centered in Cook County,

Illinois. The lost reputation, humiliation emotional distress and other damages Plaintiffs are

suffering due to the defamation per se and/or false light invasion of privacy are occurring here.

Defendants knew and intended to harm Plaintiffs where their reputations are centered: Cook

County, Illinois.

                                     BACKGROUND FACTS

                                              Cityzenith

        8.      Founded by the creators of Google Earth and Sequoia Capital-backed Satellier,

Plaintiff Cityzenith is the urban Digital Twin platform provider of choice for data driven-building

owners and managers seeking to accelerate both their energy transition and their climate resilience

goals. A global leader in the space, in 2021 the company was selected by the World Economic

Forum to participate in its Net Zero Carbon Cities program to help building owners around the

world leverage Digital Twin technology to eliminate carbon emissions. The company has active

projects across the United States from Las Vegas to Los Angeles to Chicago, and its clients include


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Cushman and Wakefield, CBRE, the US Army, W.S. Atkins, and other high-profile companies in

the building industry.

       9.      Government and commercial users of Cityzenith’s software navigate, query, and

analyze massive amounts of data in a virtual 3-D urban Digital Twin model, optimizing all aspects

of city project planning, construction, operations, and emissions reduction faster and more

accurately than ever before. Cityzenith’s technology automates the complex manual green building

retrofit process, making it easy for building owners to transform their assets into sustainable long-

term, healthy revenue producing buildings.

       10.     According to Forbes, 500 major world cities will rely on Digital Twins for daily

operations by 2026. Cityzenith is regularly acknowledged in the media among other market leaders

including Microsoft, Siemens, and Phillips. The company’s work has been profiled in Forbes, Inc.,

Fast Company, TechCrunch, and over 1000 other major media outlets in the last 18 months,

including CNBC and Cheddar News. See https://cityzenith.com/post/technology-companies-

cityzenith-siemens-and-philips-set-to-capitalize-on-2-46-trillion-forecast-around-smart-cities-

fueled-by-the-drive-for-carbon-neutrality. CNBC recently profiled the company as 1 of 5 growing

startups in the United States positioned to benefit from the recent Inflation Reduction Act.

       11.     Cityzenith has raised over $15 million since inception and is regarded as a pioneer

among tech companies, having crowdfunded all of that money. Between 2009 and 2018, the

company raised $7 million from individual investors based primarily overseas. In 2015, Cityzenith

became one of the first American companies to leverage the benefits of crowdfunding in the United

Kingdom under the Enterprise Investment Scheme, raising approximately 4,000,000 UK pounds

between 2015 and 2018. In 2019, the company undertook its first crowdfunding campaign in the




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United States on the Republic platform, regulation1, which reached the maximum $1.07 million

maximum target in just 2 1/2 months, setting a performance record. https://republic.com/cityzenith

. In June 2020, the company launched its current regulation A+2, during which it successfully

raised another $7 million over the last two years.


                            Cityzenith’s Founder and CEO Michael Jansen

         12.      Jansen was born in 1969. He is the grandson of immigrants from Poland who fled

persecution during the First World War. Six of his grandfather’s eight siblings died before the age

of 10. Growing up, Jansen developed a deep respect for his maternal grandfather, who had

scrubbed garbage cans to put himself through engineering school at the Illinois Institute of

Technology and later was appointed to an exclusive team at NASA that helped put the first space

capsule in orbit which could take photographs.

         13.      Jansen was raised in the small, quiet, new suburban blue-collar suburb of

Schaumburg Illinois. A star performer from grade school, Michael attended Saint Viator high

school in Arlington Heights in 1983 and graduated valedictorian, becoming the first graduate of

the high school to attend an Ivy League university, matriculating in 1987. As a student at Yale

University, Jansen excelled in the architecture department and was admitted into the highly




1
         When Cityzenith raised money in 2019, companies could raise only up to a maximum of $1.07 million
under Reg CF. The amount of money that companies can raise in America under reg CF increased to 5 million
within the last one year.

2
          Regulation A + is another crowdfunding mechanism for companies seeking to raise larger amounts of
money and provides an exemption from registration for public offerings. Regulation A has two offering tiers: Tier 1,
for offerings of up to $20 million in a 12-month period; and Tier 2, for offerings of up to $75 million in a 12-month
period. For offerings of up to $20 million, companies can elect to proceed under the requirements for either Tier 1 or
Tier 2. Cityzenith qualified for a Tier 1 Regulation A+ in June 2020.


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prestigious master’s program of architecture at Cambridge University in the United Kingdom a

couple of years later.

       14.     Jansen’s career took off as soon as he graduated. In the early 90s, Jansen became

one of the first professional American architects to see the opportunities emerging in east Asia and

moved to China where he led the first Sino-American joint venture US architecture practice in

Beijing, at the age of 23.

       15.     Two years later, Jansen was awarded a prestigious Fulbright Scholarship to

research architecture across the subcontinent of India. He was the first architect ever to be awarded

a Fulbright scholarship to study in India since the inception of the program. Michael is fluent in

Hindi and Chinese.

       16.     During his twenties, Jansen quickly rose up the ladder at two major United States

architecture practices. Jansen was offered a partnership at a major California architecture practice

at the age thirty. Jansen declined the offer, preferring to form his first business, a computer design

outsourcing company called Satellier, based in India with clients around the world.

       17.     That business exceeded all expectations and was later funded by Sequoia Capital

and Silicon Valley Bank who together invested $13 million and who famously were early investors

in Google, Yahoo, Oracle, and YouTube, Jansen grew that business starting with just himself, a

desk, and a phone into a major global organization with 700 employees across four continents.

Today Jansen runs Cityzenith, one of the world’s leading digital twin software companies helping

building owners to eliminate carbon emissions.

       18.     Jansen’s work is very important to the world and for the health of the planet.

Buildings produce 80% of the carbon emissions in our cities, and 40% of carbon emissions

worldwide. He has been recognized for his work a multitude of times, most recently being named



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a Worlds Cities Summit Young Leader, and the World Smart City Forum top CEO leader. He has

appeared on CNN, CNBC, and the BBC as an expert in the global building technology industry.

He has lectured at Harvard, MIT, Stanford, Princeton, Columbia University, University of

Chicago, Northwestern University, and many other prestigious academic institutions worldwide.

                   Defendants’ Internet Smear and Defamation Campaign

       19.     In or about September 4, 2022, Shane Liddell (together with other unnamed co-

conspirators) began an internet smear campaign designed to destroy the good names and

reputations of Cityzenith and its CEO Jansen. Naysmith joined Liddell in his smear campaign. The

purpose of the campaign was to thwart Cityzenith’s capital fund raising efforts. It was also to

falsely portray Jansen as a fraudster, trust fund baby, and hot head who relies on inherited family

money, has never met any of his capital fund raising goals for Cityzenith and has a history of poor

financial management that has angered important venture capitalists who invested in his prior

ventures.

       20.     Liddell doctored and altered texts and messages he received from Jansen to falsely

portray Jansen as unhinged and put those doctored texts and messages up on the internet.

       21.     Defendants littered the internet with false and defamatory information about Jansen

and Cityzenith that falsely accused Plaintiffs of lacking ability or integrity in the performance of

job duties and otherwise prejudiced them in their business and profession. These statements are all

materially false and damaging to Plaintiffs’ good names and reputations. They are designed to

interfere with Cityzenith’s investor fund raising efforts through crowdfunding. Crowdfunding

campaigns rely entirely on a company’s internet reputation to be successful as investors invest

online. Liddell and Naysmith conspired to discredit Cityzenith and Jansen online to dissuade

investors from investing in Cityzenith.

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       22.     Defendants have made the following defamatory statements on the internet

regarding Plaintiffs:

             False Statements About the Amount of Money Raised by Cityzenith

               a. FALSE STATEMENT (Liddell): Liddell falsely claims that under Jansen’s

                   direction, Cityzenith has raised only $678,000 and failed to attain any of its

                   capital fund raising goals.

               b. TRUTH:

                         i. Plaintiffs’ efforts have been a trailblazing success in the crowdfunding

                            arena and has raised $15 million since inception.

                        ii. Cityzenith’s first regulation CF in 2019 reached the maximum allowed

                            for investment, $1.07 million, and took just 3 months to do so on the

                            Republic Platform.

                        iii. Cityzenith was one of the first American companies to successfully raise

                            money under the crowdfunding EIS game and United Kingdom between

                            2015 and 2019, raising more than 4,000,000 pounds.

                        iv. Under the leadership of Jansen, Cityzenith’s current regulation A+ has

                            been an astounding success, and the company has already raised $7

                            million since launching.




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     False Statement about Cityzenith Lacking a Chief Financial Officers

       a. FALSE STATEMENT (Liddell): Liddell claims Cityzenith has no CFO.

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             b. TRUTH: Cityzenith has always had a CFO, most recently Mr. John David

                    Cunningham, who has been Senior CFO for the last two years.

Posted by Liddell




               False Statements About Michael Jansen’s Previous Business

             a. FALSE STATEMENT (Liddell): Liddell claims the first use of funds from

                    Sequoia Capital and Silicon Valley Bank’s $13,000,000 investment in Michael

                    Jansen’s previous company was used to pay Michael Jansen back a $180,000

                    loan. Liddell also claims that Sequoia Capital and Silicon Valley Bank did not

                    reinvest because of Jansen’s alleged repayment of a loan to himself.

             b. TRUTH: Jansen had no personal loan of any kind from his previous business.

                    His previous business was profitable from its first year of operations.

             c. Jansen’s first business was featured on CNN

                    https://www.youtube.com/watch?v=Y_g4rTF5aig and CNBC and grew from

                    just 10 employees to over 500 employees in only 4 years. With an initial

                    investment of just $500,000 for early angel investors, Jansen created a $25

                    million company. Sequoia Capital and Silicon Valley Bank jointly invested

                    $11 million dollars in that business in 2007. Approximately one year later,


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                    both Sequoia Capital and Silicon Valley Bank upped their investments in

                    Jansen’s previous company, investing an additional $2 million.

Posted by Liddell




                      False Statements About Michael Jansen’s Education

             d. FALSE STATEMENT (Liddell): Liddell claims Michael Jansen did not

                    graduate from Yale.

             e. TRUTH: Michael Jansen graduated from Yale in 1991. He later attended

                    Cambridge University where he studied in the master’s program of the

                    department of architecture. He also studied at the school of planning an

                    architecture in New Delhi while on a Fulbright scholarship from 1994 to1995

                    and obtained an Associate degree from the Beijing Central Academy of Fine

                    Arts in 1992. He maintains degrees from Yale University, Cambridge

                    University, the New Delhi School of Planning + Architecture, and the Beijing

                    Central Academy of Fine Arts.




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        False Statements Regarding CEO Compensation and Insider Stock Sales

            a. FALSE STATEMENT (Liddell): 50% of the money the company earns from

               investors goes to the CEO.

            b. FALSE STATEMENT(Naysmith): The CEO earns a $500,000 salary and

               $666,000 in cash compensation.

            c. TRUTH: Michael Jansen the CEO earns a regular salary of $300,000 and has

               no additional cash compensation. Jansen did not receive a salary from

               Cityzenith during its first five years of operations. Jansen has loaned Cityzenith

               hundreds of thousands of dollars to fund operations over the years. Moreover,

               the board may, entirely at its discretion, reduce the CEO salary by 50% to 100%

               at any time if required, a right that has been exercised several times in recent

               years. Michael Jansen has routinely sacrificed for his company over the more

               than 14 years that he has been its CEO and has maintained a loyal and growing

               following of investors.

            d. FALSE CLAIM (Liddell): Many shareholders are selling their shares including

               the CEO. They have sold $5.6 million in shares to date.

            e. TRUTH: No one has ever sold any of their shares in this company; a large

               number have only acquired more shares over time.

Posted by Naysmith




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Posted by Naysmith




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           False Statement that Regulation A+ Fund Raising Round Halted

        a. FALSE STATEMENT (Naysmith): Rialto Markets halted Cityzenith’s

           Regulation A+ fund.




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            b. TRUTH: Rialto Markets did not halt Cityzenith’s regulation A+ fund raising

               round.

Posted by Naysmith




             False Statements About Insider Stock Sales and Investors Jumping Ship

            a. FALSE STATEMENT (LIDDELL): Defendant claims many investors are

               selling off their shares in the current round.

            b. TRUTH: Cityzenith maintains a consistent 85-90% investor satisfaction rating,

               and 50% of Cityzenith’s investors recently invested again. More than 40% of

               the plaintiff’s investors have been invested three times or more. Three investors

               have invested more than twenty times.

            c. FALSE STATEMENT (LIDDELL): Defendant claims that “Jansen and his

               father” have sold off their shares in the company.

            d. TRUTH: Jansen has never sold his shares, and his father is not a shareholder.




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                                       CAUSES OF ACTION

                                              COUNT I

                                      DEFAMATION PER SE

        23.      Plaintiffs reallege and incorporate by reference paragraphs 1-22.

        24.      Defendants’ false and defamatory statements that are subject of this Count are

alleged in paragraph 22.

        25.      In making the false statements, Defendants acted negligently, recklessly, or

intentionally.

        26.      Defendants fabricated and spread the false and disparaging statements concerning

Plaintiffs to third parties with actual malice, knowing that the statements were false, with reckless

disregard for the truth or falsity, or with negligent disregard for the truth or falsity.

        27.      The false statements impute want of integrity and ability to Plaintiffs in their

profession or business or otherwise prejudiced them in their profession or business and therefore

constitute defamation per se. The false statement says that Plaintiff Cityzenith is not a real

company, that it and Jansen are a fraud and a front for a team of criminals who are looking to

launder money from the U.S. This is an imputation of violation of U.S. criminal laws.

        28.      The false statements constitute defamation per se with damage to reputation

presumed.

        29.      The false statements were made as an unequivocal statement of fact and is not

susceptible to any innocent construction.

        30.      The false statements harmed and continue to harm Plaintiffs through loss of

reputation, loss of investments and humiliation and emotional distress to Jansen causing damages

in excess of $2,000,000.


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       31.       Defendants’ defamation of Plaintiffs is causing Plaintiffs to suffer irreparable injury

that cannot be rectified by money damages alone.

       32.       Defendants made the false statements willfully and with actual malice as a part of

its full court assault on Plaintiffs, subjecting Defendants to substantial actual and punitive damages

in excess of three times actual damages.

       WHEREFORE, Plaintiffs request that this Court enter judgment in their favor and against

Defendant as follows:

       A.        Grant preliminary and permanent injunctive relief restraining Defendant and those

 in active concert or participation with her from making the disparaging falsehoods and continuing

 to defame Plaintiffs;

       B.        Require Defendants to remove her defamatory posts about Plaintiffs from various

websites on the internet;

       C.        Award actual and compensatory damages in an amount in excess of $2,000.000;

       D.        Award punitive and exemplary damages in an amount in excess of $6,000,000;

       E.        Award court costs; and

       F.        Award such other relief as the Court deems necessary and appropriate.

                                              COUNT II

                            FALSE LIGHT INVASION OF PRIVACY

       33.       Plaintiff. Michael Jansen realleges and incorporates by reference paragraphs 1-32.

       34.       The false statements that are the subject of this Count are alleged in paragraph 22.

       35.       In making the false statements, Defendants acted negligently, recklessly or

intentionally.




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        36.     Defendants fabricated and spread the false and disparaging statements concerning

Plaintiffs to third parties with actual malice, knowing that it was false, with reckless disregard for

the truth or falsity, or with negligent disregard for the truth or falsity.

        37.     The false statements impute want of integrity to Jansen.

        38.     The false statement placed Jansen in a false light to the public and to potential

investors in Cityzenith.

        39.     Defendants fabricated and spread the false and disparaging statements concerning

Jansen with actual malice, knowing that they were false, or with reckless disregard for their truth

or falsity. The false statements were made as an unequivocal statement of fact and is not

susceptible to any innocent construction.

        40.     The false statements have harmed and continues to harm Jansen by causing

humiliation, emotional distress, loss of reputation, and damages due to Plaintiffs’ encouraging

others not to do business with Jansen or Cityzenith causing damages in excess of $2,000,000.

        41.     Defendants’ portrayal of Jansen in a false light is causing Jansen to suffer

irreparable injury that cannot be rectified by money damages alone.

        42.     Defendants made the false statements willfully and with actual malice as a part of

its full court assault on Jansen, subjecting Defendants to substantial actual and punitive damages

in excess of three times actual damages.

        WHEREFORE, Plaintiff Michael Jansen requests that this Court enter judgment in their

favor and against Defendants as follows:

        G.      Grant preliminary and permanent injunctive relief restraining Defendants and those

 in active concert or participation with them from making the disparaging falsehoods and

 continuing to defame Jansen;

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       H.      Require Defendants to remove their defamatory posts on various websites about

Jansen from the internet;

       I.      Award actual and compensatory damages in an amount in excess of $2,000,000;

       J.      Award punitive and exemplary damages in an amount in excess of $6,000,000;

       K.      Award costs of suit and attorneys’ fees; and

       L.      Award such other relief as the Court deems necessary and appropriate.

                             DEMAND FOR A TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury on the claims so triable.

                                              CITYZENITH HOLDINGS, INC.,
                                              AND MICHAEL JANSEN

                                             By: _/s/ Peter S. Lubin__________________
                                                     One of their attorneys


 Peter S. Lubin                                      Terrence Buehler
 Patrick Austermuehle                                LAW OFFICE OF TERRENCE BUEHLER
 LUBIN AUSTERMUEHLE, PC                              19 South LaSalle Street, Suite 702
 17W220 22nd Street, Suite 410                       Chicago, Illinois 60606
 Oakbrook Terrace, Illinois 60181                    (312) 371-4385
 (630) 333-0333                                      tbuehler@tbuehlerlaw.com
 peter@l-a.law
 patrick@l-a.law




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